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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, )
                          )                                  No. 1:21cr237-RDM
           v.             )
                          )
MATTHEW KLEIN,            )
                          )
     Defendant.           )

            MOTION TO MODIFY CONDITIONS OF PRETRIAL RELEASE

       Matthew L. Klein, through counsel, respectfully moves the Court to modify his conditions

of pretrial release, as follows: (1) Mr. Klein asks the Court to impose a curfew, as opposed to home

confinement, given that Mr. Klein is now employed; (2) Mr. Klein asks the Court to modify the

restrictions on his internet usage such that internet usage is not limited to work and educational

purposes, and (3) Mr. Klein asks the Court to strike the requirement requiring submission of a

third-party custodian declaration. In support of his motion, Mr. Klein states as follows:

       1. On May 13, 2021 this Court placed Mr. Klein on pretrial release. See Order Setting

           Conditions of Release, ECF 38. Among the conditions imposed by the Court, Mr.

           Klein was placed on home detention with location monitoring, in the custody of a third-

           party custodian. Id. at 2-3. Additionally, Mr. Klein is prohibited from using social

           media, and his internet usage was limited to educational and work purposes related to

           computer sciences self-study. Id. at 3. Mr. Klein is subject to monitoring by US Pretrial

           Services, in Oregon, for his compliance with these conditions.

       2. Since Mr. Klein’s release to home detention, he has complied in all respects with the

           conditions of release set by the Court.




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       3. Since July 14, 2021, Mr. Klein has been employed by JDW Welding LLC, where he

           works 6 AM to 4:30 PM, Monday through Friday (although on some Fridays, his

           workday ends earlier in the afternoon).

       4. As discussed in the government most recent status report, discovery is being provided

           by the government on an ongoing basis. This case, as all of the other January 6 cases,

           involves a massive amount of discovery, the production of which is time-consuming.

           Given the amount of time required for the government to fully comply with its

           discovery obligations, the parties are not likely to be prepared to go to trial in this matter

           for a significant period of time. Given his record of compliance with the conditions of

           pretrial release, Mr. Klein therefore asks this Court to modify the conditions.

       5. Mr. Klein asks this Court to modify the release condition of home detention to curfew.

       6. Mr. Klein asks the Court to modify the restrictions on internet use such that Mr. Klein’s

           internet use is not limited to work and educational purposes. The current restrictions

           are very broad, and under the terms of the order Mr. Klein is not permitted to do such

           things as watch a movie on Netflix, or purchase items on Amazon.1 Mr. Klein agrees

           to abide by any restrictions as to social media usage, and understands that his

           compliance with this condition will continue to be monitored by the Pretrial Services.

       7. Mr. Klein also asks the Court to strike the requirement that he file a declaration from

           his third-party custodian every week.          Mr. Klein’s third-party custodian has a




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       Mr. Klein’s co-defendant and brother, Jonathanpeter Klein, is similarly restricted from
using social media, but does not have the general restriction on internet use that has been imposed
on Matthew Klein. Compare ECF 38 and ECF 41 (Order Setting Conditions of Release as to
Jonathanpeter Klein), at 3.


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           continuing legal duty to report any violations of pretrial release conditions to Pretrial

           Services, regardless of whether such a declaration is filed.

       8. Undersigned counsel has conferred with the government regarding the relief sought in

           this motion. Counsel for the government has noted that he would like to get the position

           of Pretrial Services prior to making a recommendation to the Court. However, he is

           not opposed to the request insofar as it involves the third-party custodian declaration.

       9. Undersigned counsel has reached out to the Pretrial Services Officer on August 23 and

           again on August 25, 2021 regarding this request. Undersigned counsel has not received

           a response from Pretrial Services to date.

       WHEREFORE, for all of the foregoing reasons, Mr. Klein respectfully asks this Court to

impose a curfew, to modify the restrictions on his internet usage such that internet usage is not

limited to work and educational purposes, and to strike the requirement requiring submission of a

third-party custodian declaration.

                                             Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that I filed the foregoing document via ECF and a copy will be

automatically sent to the AUSA of record.




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